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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 FAIR HOUSING CENTER OF
 METROPOLITAN DETROIT, and
 DAR’SHA L. HARDY,

                     Plaintiffs,

      -v-                                C/A No. 5:16-cv-12140-JCO-MKM
                                         Hon. John Corbett O’Meara
                                      Magistrate Judge Mona K. Majzoub
 IRON STREET PROPERTIES, LLC.,
 d/b/a RIVER PARK LOFTS,
 BOYDELL DEVELOPMENT, INC., and
 DENNIS KEFALLINOS,

                   Defendants.
 _____________________________/

               SUBSTITUTION OF ATTORNEY
    NOW COMES CHUI KAREGA (P27059) and enters his substitution as

 Attorney for Plaintiff, Fair Housing Center of Metropolitan

 Detroit, only in the place and stead of in the referenced

 matter.



                             LAW OFFICES OF CHUI KAREGA

                                /s/   Chui   Karega
                             BY: CHUI KAREGA (P27059)
                             Attorney for Plaintiff
                             19771 James Couzens Highway
 Dated: October 31,     2017 Detroit, Michigan 48235-1937
                             ck27059@msn.com
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION


 FAIR HOUSING CENTER OF
 METROPOLITAN DETROIT, and
 DAR’SHA L. HARDY,

                     Plaintiffs,

      -v-                                C/A No. 5:16-cv-12140-JCO-MKM
                                         Hon. John Corbett O’Meara
                                      Magistrate Judge Mona K. Majzoub
 IRON STREET PROPERTIES, LLC.,
 d/b/a RIVER PARK LOFTS,
 BOYDELL DEVELOPMENT, INC., and
 DENNIS KEFALLINOS,

                   Defendants.
 _____________________________/


     CONSENT TO SUBSTITUTION OF ATTORNEY
    PLEASE TAKE NOTICE the undersigned consent to the withdrawal

 of Attorney CHUI KAREGA (P27059) on behalf of Fair Housing

 Center of Metropolitan Detroit, only in the referenced matter.




      October 31, 2017                /s/   Stephen A. Thomas
   Date                         Stephen A. Thomas (P43260)
                                Attorney for Dar’Sha L. Hardy
                                645 Griswold Street
                                Suite 1360
                                Detroit, Michigan 48226
                                (313) 965-2265
                                sthomas@313965Bank.com
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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 FAIR HOUSING CENTER OF
 METROPOLITAN DETROIT, and
 DAR’SHA L. HARDY,

                     Plaintiffs,

      -v-                                C/A No. 5:16-cv-12140-JCO-MKM
                                         Hon. John Corbett O’Meara
                                      Magistrate Judge Mona K. Majzoub
 IRON STREET PROPERTIES, LLC.,
 d/b/a RIVER PARK LOFTS,
 BOYDELL DEVELOPMENT, INC., and
 DENNIS KEFALLINOS,

                   Defendants.
 _____________________________/


                        ORDER APPROVING
                 SUBSTITUTION OF ATTORNEY FOR
                     FAIR HOUSING CENTER OF
                   METROPOLITAN DETROIT ONLY

      Upon stipulation, IT IS HEREBY ORDERED Chui Karega (P27059)

 shall be substituted as Attorney for Plaintiff Fair Housing

 Center of Metropolitan Detroit only in the referenced matter.



 Date: November 1, 2017               s/John Corbett O’Meara
                                      United States District Judge
